    Case: 1:21-cv-05162 Document #: 307 Filed: 04/10/24 Page 1 of 2 PageID #:6006



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

City of Chicago,                                    )
                                                    ) Civil Action No.: 1:21-cv-05162
               Plaintiff,                           )
                                                    ) Honorable Jeremy C. Daniel
       v.                                           )
                                                    ) Magistrate Judge Jeffrey T. Gilbert
DoorDash, Inc. and Caviar, LLC,                     )
                                                    )
               Defendants.                          )




                                  NOTICE OF WITHDRAWAL

        Plaintiff City of Chicago withdraws the appearance of Betsy A. Miller. Undersigned

 counsel will continue to represent the City.

 DATED: April 10, 2024                                Respectfully submitted,


 CITY OF CHICAGO DEP’T OF LAW,                        COHEN MILSTEIN SELLERS &
 AFFIRMATIVE LITIGATION DIVISION                      TOLL PLLC

 By: /s/ Peter H. Cavanaugh                           By: /s/ Brian E. Bowcut
 Stephen J. Kane                                      Brian E. Bowcut (pro hac vice)
 Peter H. Cavanaugh                                   Peter Ketcham-Colwill (pro hac vice)
 121 N. LaSalle Street                                1100 New York Avenue, NW, Suite 500
 Room 600                                             Washington, D.C. 20005
 Chicago, IL 60602                                    Phone: (202) 408-4600
 Phone: (312) 744-6934                                bbowcut@cohenmilstein.com
 stephen.kane@cityofchicago.org                       pketcham-colwill@cohenmilstein.com
 peter.cavanaugh@cityofchicago.org
                                                      Lisa M. Ebersole (pro hac vice)
                                                      88 Pine Street, 14th Floor
                                                      New York, NY 10005
                                                      Phone: (202) 408-4600
 Attorneys for Plaintiff City of Chicago              lebersole@cohenmilstein.com




                                                1
   Case: 1:21-cv-05162 Document #: 307 Filed: 04/10/24 Page 2 of 2 PageID #:6007



                                 CERTIFICATE OF SERVICE

       I certify that on April 10, 2024, I electronically filed the foregoing with the Clerk of the

United States District Court for the Northern District of Illinois using the Court’s CM/ECF system,

which will automatically send notification of this filing to all counsel of record.

                                                      /s/ Lisa M. Ebersole




                                                  2
